Case 7:19-cv-00409 Document 7-1 Filed on 12/20/19 in TXSD Page 1 of 9 |

 

DISCLAIMER FOR DAVID OLVERA

 

In accordance with the provisions of 28 U.S.C. § 1746, I, DAVID OLVERA, the
undersigned, do hereby make the following unsworn declaration, under penalty of perjury:

COMES NOW, DAVID OLVERA, who has been named as an interested party.in the
lands, more particularly described in the attached Exhibit A, hereby disclaims any right, title, claim
or interest in the just compensation paid or to be paid for the taking of the lands, more particularly

described in the attached Exhibit A.

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true
and correct.

some — fret Ulam —

Printed Name: DAVID OLVERA

 

 

Title Gf any):

Executed on: { 2/ lof: Cal 7
(Date)

Address:

 

 

K ye, TK eee | |

 

Page | of | - 4

 

GOVERNMENT
EXHIBIT

 

 
Case 7:19-cv-00409 Document 7-1 Filed on 12/20/19 in TXSD Page 2 of 9

Exhibit "A"
Tract: RGV-WSL-4004 .

County: Hidalgo .
Grantor: Andrea Jackson De Munoz, Clemencia Jackson De Brewster, Ysabel

Jackson De Sanchez, Leonard Jackson, Jr., Josefa Jackson Ponce, W. E. Ritchey,
Apolonio Jackson and Daniel Jackson

Acreage: 6.10
Being a 6.10 acre tract (265,669 sq. ft.) of land located in the Agostadero Del

Gato Grant and the La Blanca Grant, Hidalgo County, Texas; being all of a called
6.1 acre tract of land described in partition deed to Andrea Jackson De Munoz,
Clemencia Jackson De Brewster, Ysabel Jackson De Sanchez, Leonard Jackson, Jr.,
Josefa Jackson Ponce, W. E. Ritchey, Apolonio Jackson and Daniel Jackson, -
recorded in Volume 777, Page 79 of the Hidalgo County Deed Records (H.C.D.R.),
executed July 29, 1952, also being all of “LEVEE 6.10 AC.” as shown on the Map of
Proposed Partition Share Number One of Webber Partition, recorded in Volume
1091, Page 58 H.C.D.R. (no assigned Hidalgo County Appraisal District Property ID
No,); said 6.10 acre tract being more particularly described by metes and bounds

as follows:

Commencing at a found 3/8-inch iron rod on the south line of U.S. 281 (100’ ROW
Easement), recorded in Volume 652, Page 92, Volume 652, Page 97 and Volume
656, Page 219 H.C.D.R., the east line of Share 4, Block 4 of Map of Munoz
Partition, recorded in Volume 12, Page 9 of the Hidalgo County Map Records
(H.C.M.R.) and the west line of Lot 5 of said Map of Proposed Partition Share
Number One of Webber Partition, having coordinates of N=16,554,764,21,

E=1,119,113.24;
Case 7:19-cv-00409 Document 7-1 Filed on 12/20/19 in TXSD Page 3 of 9

Thence: South 08°40’59” West, along the east line of said Map of Munoz Partition
‘and the west line of said Map of Proposed Partition Share Number One of

Webber Partition, a distance of 2,832.66 feet to a point “RGV-WSL-4004-1” for
the Point of Beginning, westerly northwest corner of the herein described tract,
the southwest corner of Lot 7 of said Map of Proposed Partition Share Number
One of Webber Partition, the southwest corner of a called 18.22 acre tract of land
(second tract) described in deed to Sam J, Brewster, Trustee, recorded in Volume
1765, Page 915. H.D.C.R, executed February 03, 1982, the westerly northwest
corner of said LEVEE 6.10 AC. and the westerly northwest corner of said Andrea
Jackson De Munoz, et al tract, being on the east line of Share 5, Block 4 of said

Map of Munoz Partition, having coordinates of N=16,551,964.02, E=1,118,685.60,
from which a found International Boundary Commission (IBC) disk in concrete
bears South 84°16’42” West, 0.62 feet; .

Thence: North 84°16’42” East, along the south line of said Lot 7, the south line of
said Sam J. Brewster, Trustee 18.22 acre tract, the westerly north line of said
LEVEE 6.10 AC, and the westerly north line of said Andrea Jackson De Munoz, et al
tract, a distance of 588.03 feet to a 5/8-inch iron rod with aluminum cap stamped
“RGV-WSL-4004-2”, set, for an interior corner of the herein described tract, the
southeast corner of said Lot 7, the southeast corner of said Sam J. Brewster,
Trustee 18.22 acre tract, an interior corner of said LEVEE 6.10 AC. and an interior

corner of said Andrea Jackson De Munoz, et al tract;

Thence: North 08°31’52” East, along the east line of said Lot 7, the east line of
said Sam J. Brewster, Trustee 18.22 acre tract, the northerly west line of said
LEVEE 6.10 AC. and the northerly west line of said Andrea Jackson De Munoz, et al
tract, a distance of 45.66 feet to a found 1/2-inch iron rod (attached tag stamped
“RGV-WSL-4004-3”), for the northerly northwest corner of herein described tract,
the southwest corner of a called 73.306 acre tract of land (Tract 372) described in
deed to United States of America, recorded in Volume 2652, Page 249 H.C.D.R.,
executed September 20, 1988, the northerly northwest corner of said LEVEE 6.10
AC. and the northerly northwest corner of said Andrea Jackson De Munoz, et al

tract;
Case 7:19-cv-00409 Document 7-1 Filed on 12/20/19 in TXSD Page 4 of 9

Thence: South 81°28’38” East, along the south line of said TRACT 372, the easterly
north line of said LEVEE 6.10 AC. and the easterly north line of said Andrea
Jackson De Munoz, et al tract, a distance of 347.20 feet to a point “RGV-WSL-
4004-4”, for the northeast of herein described tract, the northwest corner of a
called 137.47 acre tract of land described in deed to Eberle Investments, Ltd.; —
recorded in Document Number 2008-1951867 of the Hidalgo County Official
Records (H.C.O.R.), executed October 16, 2008, the northeast corner of said

~ LEVEE 6.10 AC. and the northeast corner of said Andrea Jackson De Munoz, et al

_ tract, from which a found 1/2-inch iron rod bears North 81°28’38” West, 1.16 -

feet; \

t

Thence: South 08°25’20” West, along the west line of said Eberle Investments,
Ltd. Tract, the east line of said LEVEE 6.10 AC. and the east line of said Andrea
Jackson De Munoz, et al tract, a distance of 246.29 feet to a 5/8-inch iron rod with
aluminum cap stamped “RGV-WSL-4004-5”, set, for the southeast corner of the
herein described tract, the northeast corner of Lot 8 of said Map of Proposed
Partition Share Number One of Webber Partition, the northeast corner of a called
7.9 acre tract of land (First Tract) described in deed to Sam J. Brewster, Trustee,
recorded in Volume 1765, Page 915 H.D.C.R, executed February 03, 1982, the
southeast corner of said LEVEE 6.10 AC. and the southeast corner of said Andrea
Jackson De Munoz, et al tract, from which a found 1-inch iron pipe bears North

17°46’ West, 4.7 feet;

Thence: South 84°16’42” West, along the north line of said Lot 8, the north line of
said Sam J. Brewster, Trustee 7.9 acre tract, the south line of said LEVEE 6.10 AC.
and the south line of said Andrea Jackson De Munoz, et al tract, passing at a
distance of 857.67 feet passing a found 3/4-inch iron pipe for the northeast

corner of a called 1.0 acre tract described in deed to Santiago Jackson and wife,
Belinda Jackson, recorded in Volume 1219, Page 344 H.C.D.R, executed November
25, 1968 and the northwest corner of said Sam J. Brewster, Trustee 7.9 acre tract,
continuing for a total distance of 947.53 feet to a found IBC disk in concrete

_ (attached tag stamped “RGV-WSL-4004-6”), for the southwest corner of herein
described tract, the northwest corner of said Lot 8, the northwest corner of said
Santiago Jackson tract, the southwest corner of said LEVEE 6.10 AC. and the
southwest corner of said Andrea Jackson De Munoz, et al tract, being on the east

line of said Share 5;
_ Case 7:19-cv-00409 Document 7-1 Filed on 12/20/19 in TXSD Page 5 of 9

Thence: North 08°40’59” East, along the east line of said Share 5, the west line of
said LEVEE 6.10 AC. and the west line of said Andrea Jackson De Munoz, et al
tract, passing at a distance of 13.46 feet a 5/8” iron rod with aluminum cap
stamped “RGV-WSL-4002-2”, passing at a distance of 279.94 feet a 5/8” iron rod
with aluminum cap stamped “RGV-WSL-4002-1”, continuing for a total distance of —
289.09 feet to the Point of Beginning and containing 6.10 acre or 265,669 square

feet of land.

Note: Bearings and coordinates are referenced to the Texas Coordinate System of
1983, NAD83 (2011), South Zone (4205) and based on Control Point Number 112,
having coordinates of N=16,554,097.208 & E=1,106,071.686, Control Point
Number 113, having coordinates of N=16,551,420.147 & E=1,113,893.195 and
Control Point Number 114, having coordinates of N=16,551,984.317, -
E=1,119,470.921 as established by B&F Engineering, Inc. All coordinates.and
distances are surface values and can be converted to grid values by multiplying by
the Project Scale Factor (PSF) of 1.000000000 (SURFACE X PSF = GRID). 7
The unit of measure is U.S. Survey Foot.

This metes and bounds description is accompanied by a separate plat.

Corners not set at time of survey, to be set upon possession of property by the

government.

Prepared Date_02/15/2019

Revision Date.

dim WV (dihl

Adam N. Diehl
Registered Professional Land Surveyor

Number 6346

 

 

Landtech, Inc.

2525 North Loop West, Suite 300
Houston, Texas 77008

T: 713-861-7068; F: 713-861-4131
TXBPE Reg. No. F-1364

TxBPLS Reg. No. 10019100
Case 7:19-cv-00409 Document 7-1 Filed on 12/20/19 in TXSD Page 6 of 9

 

 

NOTES:
1, BEARINGS AND COORDINATES ARE REFERENCED TO THE
, P.O.C.

   
   
  
 
 
 
 
  
  
    
 
   
   
  
   
  
 

TEXAS COORDINATE SYSTEM OF 1983, NADB3 (2011)
SOUTH ZONE (4205) AND BASED ON CONTROL POINT
NUMBER 112, HAVING COORDINATES OF N=16,554,097,08 & FND. 3/8" IR
E=1,106,071.686, CONTROL POINT NUMBER 113, HAVING N-16,554,764.21
E-1,119,113.24
SCALE:

-.COORDINATES OF N= *16,551,420.147 & E=1,113,893.195 AND
CONTROL POINT NUMBER 114, HAVING COORDINATES OF

N°16,551,984.317, E#1,119,470. '921 AS ESTABLISHED BY

B&F "ENGINEERING, INC. ALL COORDINATES AND DISTANCES

ARE SURFACE VALUES AND CAN BE CONVERTED TO GRID

VALUES BY MULTIPLYING BY THE PROJECT SCALE FACTOR

(PSF) OF 1,000000000 (SURFACE X PSF = GRID)
2, THE UNIT OF MEASURE IS THE U.S, SURVEY FOOT.
3. THIS PLAT IS ACCOMPANIED BY SEPARATE METES AND

BOUNDS DESCRIPTION.
4. THIS SURVEY WAS PREPARED WITHOUT THE BENEFIT OF
A TITLE COMMITMENT,

5-RESEARCH WAS PERFORMED OCTOBER TO DECEMBER 2018

6. FIELD SURVEYS WERE PERFORMEO OCTOBER 2018 TO

 

AREA TABLE (ACRES)
EXISTING TAKING | EXISTING USA
lac./S.F. | EASEMENT _ | REMANING

, 6.10 6.10, AC.
640 | 265;669 [265,669 SO.FT.| 9:99

 

 

 

 

 

 

 

 

LA BLANCA GRANT

FEBRUARY, 2019.
»
7. LONE STAR 811 UTILITY LOCATE REQUEST WAS SUBMITTED uy
FOR THIS SURVEY ON DECEMBER 03, 2018 (LONE STAR 811 ae HIDALGO COUNTY,
an TEXAS

TICKET NO, 583247704, TEXAS811 LOCATE REQUEST TICKET

NO. 1883717293).

8. CORNERS NOT SET AT TIME OF SURVEY, TO BE SET
UPON POSSESSION OF PROPERTY, BY THE GOVERNMENT.

AGOSTADERO DEL GATO GRANT
HIDALGO COUNTY, TEXAS

| CALLEO 6.1 ACRE TRACT OF LAND

 

 

 

 

 

 

 

 

  
 

 

 

 

COORDINATE TABLE
POINT NORTHING EASTING 1
RGV-WSL-4004-1 16,551,964.02 | 1,118,685,60 . Ce EEE Tean oe MUNOZ ro
RGV-WSL-4004-2 16,552,022.64 | 1,119;270.70 | CLEMENCIA JACKSON DE BREWSTER,
RGV-WSL-4004-3 16,552,067.79 | 1,119;277.47 ' YSABEL JACKSON DE SANCHEZ,
RGV-WSL-4004-4 16,552,018.34 | 1,119;620.84 | ieee a by eat BRE
RGV-WSL-4004-5 16,551,772,71 | 1,119,584.76 ! W. E. RITCHEY, APOLONIO J ACKSON AND
RGV-WSL-4004-6 16,551,678.24 | 1,118,641.96 j DANIEL JACKSON,
, P.0.B ' RECORDED IN VOLUME 777, PAGE 79
-VU.D. OF THE SO eS, DEED RECORDS

 

 

RGV-WSL-4004-1
N=16,551,964.02 EXECUTED JULY 29, 1952
E=1,118,685.60
FND. IBC DISK IN CONC.
BEARS S 84° 16'42" W, 0.62'

RGV-WSL-4004

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

IHEREBY CERTIFY THAT THIS SURVEY WAS MADE ON THE 6.10 AC.
GROUND UNDER MY SUPERVISION AND THAT THIS PLAT 265,669 SQ.FT.
CORRECTLY REPRESENTS THE FACTS AS FOUND AT
THE TIME OF THE SURVEY, :
SURVEY DATE, FEBRUARY, 2019. BESENS .
2 . @ ~ SET 5/8" IR W/ALUMINUM CAP STAMPED
2 f , AL Y (AS NOTED)
NV. ih O2/1S (Z019po; * - @ = FOUND PROPERTY CORNER (AS NOTED) —
ADAM N. DIEHL oe H.C,.0.R. - HIDALGO COUNTY DEED RECORDS
REGISTERED PROFESSIONAL LAND SURVEYOR \....ceccetctevarceeeal H.C,.0.R. - HIDALGO COUNTY OFFICIAL RECORDS
NO. 6346 6 6346 4 H.C.M.R. - HIDALGO COUNTY MAP RECORDS
rage s P,0.C. - POINT OF COMMENCING
Mp tS3e x ri P.0.B. - POINT OF BEGINNING
LANDTECH ‘Ss. sur —B— - PROPERTY LINE
engineering e surveying meas ~ PROPOSED ACQUISITION
2525 North Loop West, Suite 300, H \, Te 77008 eae ot .
° 17128617060, 733-861-4131 4 EASEMENT
TBPE Reglstratton No. F-1364; TBPLS Registration No, 10019100
( ~ 0 BY | DATE) oc
ANDREA JACKSON DE MUNOZ, ET AL Hees bet | hoot Fam [mp | oan w/o: 25
Chackod| AND | 02/18 By
TRACT NO. RGV-WSL-4004 Survoyor{_ANO | 020 | ENE apoarnaky || 8
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‘ couTRact Ko. W9127S-14-D-00{3 |] TEXAS LoorstD SurvEnNG RV g
HIDALGO COUNTY TEXAS) rox wasxmasis779e7co0t ){_ "katana ) meee. Ie
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UANDTECH = 1520182 FILENAME:

 

 
Case 7:19-cv-00409 Document 7-1 Filed on 12/20/19 in TXSD Page 7 of 9

 

     

   

    
 
   
     

  

    
    

LEVEE EASEMENT:
VOL, 434, PG. 346.
HCDR. =:

FND. IBC DISK IN CONC,
* BEARS S$’ 84°16'42" W, 0.62'

       
       
 
     
 

3 CALLED 6.1 ACRE TRACT OF LAND
oO DESCRIBED IN PARTITION DEED TO

a ANDREA JACKSON: DE MUNOZ, CLEMENCIA JACKSON DE .BREWSTER,
j YSABEL JACKSON: DE" SANCHEZ,

AH aot sLOPEEOQNARD :JACKSON, JR., JOSEFA JACKSON PONCE,

. ii W, HB RITCHEY, APOLONIO JACKSON AND DANIEL JACKSON,
SOPH STEAL Ss RECORDED IN VOLUME 777, PAGE 79

fe : OF THE HIDALGO ,COUNTY DEED RECORDS (H. C.D.R.),

JN EXECUTED JULY 29, 1952

‘RGV-WSL-4004
o/s yt eer 6.10 AC.
OJ~ LEVEE 6.10 AC 265,669 SQ. FT.
215 ee.

WATCH LINE "A"

    
  
   
 
      
       
     
   

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Bap Ae 4 ‘CALLED 1.0 ACRE
= SANTIAGO JACKSON AND WIFE,
a BENILDA JACKSON
FP) VOL. 1219, PG, 344
; H.C.D.R,

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947.53'

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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By pee - LOT 8 CALLED 7.9 ACRES
sie NIE! yo BOA ' (FIRST TRACT)
NN ’ SAM J. BREWSTER, TRUSTEE
Sy FND. IBC DISK IN CONC. . VOL. 1765, PG. 915
LANDTECH HCDR
engineering « surveying EXECUTED FEBRUARY 03, 1982
2525 North Loop West, Sulte 300, Houston, Texas 77008
1: 713-861-7068, F: 713-861-4131
TBPE Registration No. F-1364; TBPLS Registratlon No, 10019100 .

a ‘i (_ ork |Desce' ata 1) =
as ANDREA JACKSON DE MUNOZ, ET AL __ |/-t=4}s##te | Pate ood we [ 020 RE | 25
mS AND | 02/10 a3

a : ENGINEERING, ING]|'S
of TRACT NO. RGV-WSL-4004 ee NOTSPRINGS,ANT1919 Bo
Hs CONTRACT NOx W9127S-14-D-0013 oer: [los
25 J\HIDALGO COUNTY TEXAS) 1.0. WA5XMAB1570870001 ) (EMAIL) Info@bifeng.com a

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; Vol. 656, p¢ & Pe PC. 97 ¢
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esate
—_— LOT 5 AGOSTADERO DEL GATO GRANT
H 4 = / Lo HIDALGO COUNTY, TEXAS
SHARE : T 6
BLN Bs MAP OF PROPOSED PARTITION
+9) SHARE NUMBER ONE OF
MAP OF MUNOZ oo LOT @ WEBBER PARTITION
PARTITION °% CALLED 18.22 ACRES VOL. 1091, P@. 88
VOL. 12, P@..@9 ” (SECOND TRACT) ° D.R. °
H.C.M.R. SAM J. BREWSTER, TRUSTEE H.C.
VOL. 1765, PG, 915 ny B42 1642" €
H.C.D.R.
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Case 7:19-cv-00409 Document 7-1 Filed on 12/20/19 in TXSD Page’8 of 9

 

 

  
   
 
 
 
 
 
 
   
   
   

AGOSTADERO DEL _GATO. GRANT —
HIDALGO COUNTY, TEXAS SELES PHeL!
CALLED 76.508 ORES
(TRACT 3
ae a aa pee UNITED STATES OF AMERICA
VOL. 2652, PG. 249
WEBBER PARTITION rte
VOL. 1091, P@. 58 EXECUTED
f.C.D.R. SEPTEMBER 20, 1988 .
LOT 7
CALLED 18.22 ACRES
(SECOND TRACT) RGV-WSL-4004~3
SAM J. BREWSTER, TRUSTEE FND. 172" IR
VOL. 1765, PG. 915 es
H.C.D.R. a

EXECUTED FEBRUARY 03, 1982

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265,669 SQ.FT. OL

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yey FF ‘I. |

CALLED 6.1 ACRE TRACT OF LAND |
DESCRIBED IN PARTITION DEED TO .]
ANDREA JACKSON DE MUNOZ, i
CLEMENCIA JACKSON DE BREWSTER,
YSABEL JACKSON DE SANCHEZ, !
LEONARD JACKSON, JR., |
JOSEFA JACKSON PONCE, ;
W. E. RITCHEY, APOLONIO JACKSON AND:
DANIEL JACKSON,
RECORDED IN VOLUME 777,PAGE 79 [>
OF THE HIDALGO COUNTY DEED RECORDS '&
~(H.C.D.R.), ie
EXECUTED JULY 29, 1952 a

LEVEE 6.10 AC,

  
 

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B4° 16°42" Wy
947.53!

 
   
 

2
CALLED 7.9 ACRES
pee ee en LA BLANCA GRANT

SAM J. BREWSTER, TRUSTEE HIDALGO COUNTY, TEXAS
VOL. 1765, PG. 915, H.C.D.R.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

LOT 8 .
EXECUTED FEBRUARY 03, 1982 LINE TABLE
LANDTECH ~ | LINE BEARING DISTANCE
engineering e surveying ‘ L1 N 08° 31/52” E 45.66’
RN ena ' L2 | S 61°28'38" E 347.20'
TBPE Registration No. F-1364; TBPLS Reglstratlon No, 10019100 7 7
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ae ANDREA JACKSON DE MUNOZ Fussometen fone Las] fm p[ ot wis, 25
we Chackad| AND } 02/18 2 aa Fa
z Surveyor] AND | O29 || ENGINEERING, ING./S,
38 TRACT NO. RGV. WSL-4004 Fld,Bk, #] TeRGVIETLALS wor ata vr Bo
: CONTRACT Nos W0127S-14-D-0013 | Tas DoDISmD SmRYERG Trl 761: g
 ¥ |luiDALGO COUNTY TEXAS)| —- tos wsxmasts77ae70001 J(_ Rea J celery ntotoeteracom S(T
LANOTEGH 1620162 FILE NAME: : DATE:

 

 

  

 

 

 

 

 

 

 

 

 
Case 7:19-cv-00409 Document 7-1 Filed on 12/20/19 in TXSD Page 9 of 9

 

 

0 30 60 120)
SCALE: 1"=60'

 

CALLED 76.306 ACRES
WUE: Sree GF AMERICA nk AABLANCA GRANT
VOL. 2652, PC, 249 HIDALGO COUNTY, TEXAS

H.C.D.R.
EXECUTED
SEPTEMBER 20, 1988
| LEVEE EASEMENT CALLED 76.306 ACRES
(TRACT 372)

   

VOL. 429, PG. 499 :
UNITED STATES OF AMERICA

 

 

\ H.C.D.R.
\ i VOL. 2652, PG. 249
f a ° ’ .
S 81° 28:3gn 1° H.C.D.R.
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CHAINER \ SEPTEMBER 20, 1988
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LEVEE EASEMENT - Mh OM couls lated fp
VOL, 434, PG, 222. 7 : RGV-WSL-4004-4~ | ¥
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H.C.D.R. i a : : BEARS |
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5 sp yee ees a
g
CALLED 6.1 ACRE TRACT OF LAND . =
DESCRIBED IN PARTITION DEED TO  . LEVEE 6.10 AC. |:
ANDREA JACKSON DE MUNOZ," . S
CLEMENCIA JACKSON DE BREWSTER, =
YSABEL JACKSON DE .SANCHEZ;: ny
LEONARD JACKSON, JR., JOSEFA' JACKSON PONCE, t&
Oo
3 ”

W. E. RITCHEY, APOLONIO JACKSON AND :
DANIEL JACKSON,
RECORDED IN VOLUME 717; ‘PAGE 79
OF THE HIDALGO COUNTY DEED RECORDS
(H.C.D.R.), * END. 1" IP, BEARS
N17 46'W, 4.7" \ 1

EXECUTED JULY 29, 1952
‘ , RGV-WSL-4004-5

B57.67' i
5 e4cte42" Wo:
e}

947.53'
CALLED 7.9 ACRES

(FIRST TRACT)
CALLED 137.47 ACRES

LOT 8
SAM J. BREWSTER, TRUSTEE
VOL. 1765, PG. 915, H.C.D.R, BERLE INVESTMENTS, LTD.
EXECUTED FEBRUARY 03, 1982 e DOC. NO. ed ete
H.C.O.R.
EXECUTED

OCTOBER 16, 2008

LANDTECH

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

engineering « surveying
2525 North Loop West, Sulte 300, Houston, Texas 77008
T: 713-861-7068, F: 713-861-4131 /
TBPE Registration No. F-1364; TBPLS Registration No, 10019100 .
9 \ (— BY | DATE)
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ae ANDREA JACKSON DE MUNOZ : [e124 raw _| ur [oan BEE =
mS Checked] AND |. o2/te 33
4a 2.
Surveyor] AND | 0210 |/ENGINEERING, ING.) 5,
on - = “<
=2|| TRACT NO. RGV-WSL-4004 saatipaanma | waaaen [es
z CONTRACT Ko: W9127S-14.0-0013 || THAS Loe saci ral oe s
© )\HIDALGO COUNTY TEXAS)\. 1.0. W45XMA815779870001 ) hed ici ae (EAA) lteonfong.com a
DATE:

 

 

 

LANDTECH 1820182 FILENAME:

 
